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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           )
                                                   )
               v.                                  )
                                                   )   Nos.
GRAYDON YOUNG,                                     )          1:21-cr-28-6 (APM)
JASON DOLAN,                                       )          1:21-cr-28-15 (APM)
MARK GRODS, and                                    )          1:21-cr-437 (APM)
CALEB BERRY,                                       )          1:21-cr-460 (APM)
                                                   )
                          Defendants.              )

                                    JOINT STATUS REPORT

       The government reports that Defendants Graydon Young, Jason Dolan, Mark Grods, and

Caleb Berry continue to cooperate with the government. We request the opportunity to file a

further status report by May 20, 2022. We have consulted with counsel for the defendants, who

concur in this request.



                                        Respectfully submitted,

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